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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                    CR-18-14-GF-BMM

             Plaintiff,
                                                UNITED STATES’ RESPONSE
      vs.                                        TO MOTION FOR EARLY
                                                 PRODUCTION OF JENCKS
 STANLEY PATRICK WEBER                             MATERIAL (Doc. 27)

             Defendant.


                                 BACKGROUND

      Weber moves the Court for an order requiring the government to produce

any statement of a potential witness in advance of trial pursuant to 18 U.S.C. §

3500(b). (Doc. 27 at 1). A witness’ prior statement is commonly referred to as

“Jencks material.” The United States opposes the motion and urges the Court to


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deny the motion for the following reasons.

                             LAW AND ARGUMENT

      Although there is no general constitutional right to discovery in a criminal

case, Courts have imposed an affirmative duty upon the prosecution to disclose to

a defendant, pretrial, any information that is exculpatory, in nature. See Brady v.

Maryland, 373 U.S. 83 (1963). Additionally, Rule 16 of the Federal Rules of

Criminal Procedure, requires the government to disclose certain items of evidence

to the defense so that they may prepare for trial. See Fed. R. Crim. P. 16(a)(1)(A)-

(G). However, Rule 16(a) does not authorize the discovery or inspection of

statements by prospective government witnesses except as provided in 18 U.S.C. §

3500, the Jencks Act. Fed. R. Crim P. 16(a)(2).

      Moreover, under the Jencks Act, in a criminal prosecution brought by the

United States, no pretrial statement by a prospective government witness shall be

the subject of subpoena, discovery, or inspection until that witness has testified on

direct examination. 18 U.S.C. § 3500(a). This rule exists, in part, to protect

government witnesses. Hanks v. United States, 388 F.2d 171, 173 (10th Cir.

1968). Thus, witness statements are not required to be turned over until “[a]fter a

witness has testified on direct examination.” 18 U.S.C. § 3500(b). Consequently,

a trial court cannot order production of Jencks Act material, over the government’s

objection, prior to trial. United States v. Mills, 641 F.2d 785, 790 (9th Cir. 1981);

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United States v. Taylor, 802 F.2d 1108, 1118 (9th Cir. 1986).

      More importantly, the United States has already disclosed to the defense the

vast majority of Jencks material within its possession. Thus, the defense request is

largely moot. To the extent it is not, the Jencks Act itself, as well as the decisions

in Mills and Taylor highlighted above, foreclose the relief Weber seeks.

                                  CONCLUSION

      A witness’ pretrial statements to law enforcement that are not otherwise

exculpatory, are protected from pretrial disclosure under 18 U.S.C. § 3500.

Accordingly, Weber’s motion should be denied.

             Respectfully submitted this 30th Day of April, 2018.

                                        KURT G. ALME
                                        United States Attorney


                                        /s/ Jeffrey K. Starnes
                                        Assistant U.S. Attorney
                                        Attorney for Plaintiff




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to D. Mont. CR 47.2, the attached response is proportionately

spaced, has a typeface of 14 points or more, and the body contains 525 words.



                                      /s/ Jeffrey K. Starnes
                                      Assistant U.S. Attorney
                                      Attorney for Plaintiff




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